 Case 2:20-cv-01577-JDC-KK Document 1 Filed 11/02/20 Page 1 of 6 PageID #: 1




                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

LARRY CRUZ,                                    )
                                               )
                                               )
                       Plaintiff,              )
versus                                         )
                                               )
ELDORADO RESORTS, INC. AND ISLE                )
                                                     Civil Action No. ____________
OF CAPRI LAKE CHARLES GRAND                    )
PALAIS,                                        )
                                               )
                                               )
                       Defendants.             )

                          DEFENDANTS’ NOTICE OF REMOVAL

         NOW INTO COURT, through undersigned counsel, come defendants, Eldorado Resorts,

Inc. n/k/a Caesars Entertainment, Inc. (“Eldorado”) and St. Charles Gaming Company, L.L.C.

(incorrectly named “Isle of Capri Lake Charles Grand Palais”) (“Isle of Capri”) which, while

reserving any and all defenses, exceptions, and objections available to them, respectfully represent

that they desire to remove this action from the 457th Judicial District Court, Montgomery County,

Texas, to the United States District Court for the Southern District of Texas, Houston Division

pursuant to sections 1441 and 1332 of title 28 of the United States Code for the reasons stated

below:

                                        BACKGROUND

         1.    On September 30, 2020 plaintiff, Larry Cruz, filed an Original Petition against

Eldorado, in the 457th Judicial District Court in Montgomery County, Texas (the “state court”),

bearing docket number 20-09-11908 (the “state court action”). Exhibit A-1.

         2.    Eldorado was served on October 6, 2020, as shown by the Non-Resident Citation

served on Eldorado’s agent for service of process. Exhibit A-2.
 Case 2:20-cv-01577-JDC-KK Document 1 Filed 11/02/20 Page 2 of 6 PageID #: 2




        3.      Isle of Capri received a copy of plaintiff’s petition no earlier than October 6, 2020,

when citation was served on Eldorado Resorts, Inc.’s agent for service. Exhibit A-3.

        4.      This Notice of Removal is being filed within 30 days after receipt by defendants,

through service or otherwise, of a copy of the initial pleading setting forth plaintiff’s claim for

relief upon which this action is based as required by Section 1446(b) of Title 28 of the United

States Code. As of the filing hereof, Eldorado and Isle of Capri have filed no pleadings responsive

to the plaintiff’s petition.

                                  GROUNDS FOR REMOVAL

        5.      This Court has jurisdiction over this case based on diversity of citizenship pursuant

to section 1332(a) of title 28 of the United States Code, as there is complete diversity of citizenship

and the matter in controversy exceeds $75,000.00, exclusive of interest and costs. This action may

therefore be removed to this Honorable Court pursuant to section 1441 of title 28 of the United

States Code.

A.      There is Complete Diversity of Citizenship

        6.      Plaintiff, Larry Cruz, is a citizen, resident, and domiciliary of the State of Texas.

Exhibit A-1, ¶ 2.

        7.      For purposes of diversity jurisdiction, a corporation is a citizen of the state of its

incorporation as well as the state where it maintains its principal place of business. 28 U.S.C. §

1332(c)(1).

        8.      Eldorado Resorts, Inc. n/k/a Caesars Entertainment, Inc. is a Delaware corporation

with its principal place of business in Nevada. Therefore, Eldorado was at the time the state court

action was filed, and is now, a citizen of Delaware and Nevada.

        9.      St. Charles Gaming Company, L.L.C. is a limited liability company.




                                                 -2-
 Case 2:20-cv-01577-JDC-KK Document 1 Filed 11/02/20 Page 3 of 6 PageID #: 3




       10.     The citizenship of a limited liability company is determined by the citizenship of

all of its members. Harvey v. Grey Wolf Drilling Co., 542 F.3d 1077, 1080 (5th Cir. 2008).

       11.     The sole member of St. Charles Gaming Company, L.L.C. is IOC Holdings, L.L.C.,

a limited liability company. The sole member of IOC Holdings, L.L.C. is Isle of Capri Casinos,

LLC, a limited liability company. The sole member of Isle of Capri Casinos, LLC is Caesars

Entertainment, Inc. f/k/a Eldorado Resorts, Inc. a Delaware corporation with its principal place of

business in Nevada. Therefore, St. Charles Gaming Company, L.L.C. was at the time the state

court action was filed, and is now, a citizen Delaware and Nevada.

       12.     As such, Eldorado and Isle of Capri are not citizens of the State of Texas and

complete diversity of citizenship is therefore present between plaintiff and defendants.

B.     The Amount in Controversy Exceeds $75,000

       13.     Plaintiff’s petition seeks recovery for damages for personal injuries allegedly

sustained in an accident on October 18, 2019, at the Isle of Capri Hotel and Casino in Lake Charles,

Louisiana. Plaintiff alleges that while using the bathroom in his hotel room he stepped on a

hypodermic needle on the bathroom floor. His alleged damages include general and special

damages related to pain and suffering, medical expenses, mental anguish, loss of household

services, and medical monitoring. Exhibit A-1, ¶¶ 7, 9.

       14.     Pursuant to Texas Rule of Civil Procedure 47, plaintiff alleges he is seeking

monetary relief over $200,000 but not more than $1,000,000. Exhibit A-1, ¶ 9(J).

       15.     Accordingly, although defendants deny liability, it is apparent from the face of the

petition that the amount in controversy exceeds $75,000, exclusive of interest and costs.

C.     The Procedural Requirements for Removal have been Satisfied

       16.     The United States District Court for the Southern District of Texas, Houston

Division includes the county in which the state court action is now pending. Therefore, this Court


                                               -3-
 Case 2:20-cv-01577-JDC-KK Document 1 Filed 11/02/20 Page 4 of 6 PageID #: 4




is a proper venue for removal of this action pursuant to Sections 124(b)(2) and 1441(a) of Title 28

of the United States Code.

          17.    This notice of removal is timely because it is being filed within 30 days after receipt

by defendants, through service or otherwise, of a copy of the initial pleading of the state court

lawsuit. See 28 U.S.C. §1446(b)(1).

          18.    Pursuant to 28 U.S.C. 1446(a), defendants attach a copy of all process, pleadings

and orders served upon them, to wit:

          (a)    The original petition styled Larry Cruz v. Eldorado Resorts, Inc. and Isle of
                 Capri Lake Charles Grand Palais, No. 20-09-11908, 457th Judicial District
                 Court, Montgomery County, Texas;

           (b)   A copy of the citation issued to Eldorado Resorts, Inc.; and

           (c)   A copy of the citation issued to Isle of Capri Lake Charles Grand Palais.

To the knowledge of defendants, no additional process, pleadings or orders have been filed in this

matter.

          19.    A Notice of Filing Notice of Removal and a copy of this Notice of Removal will

be filed with the Clerk of Court for the 457th Judicial District Court, Montgomery County, Texas

and are being served on all counsel of record.

                                  NON-WAIVER OF DEFENSES

          20.    By removing this action, defendants do not waive and specifically reserve any and

all objections, exceptions or defenses available to them, including, but not limited to, insufficiency

of service of process, insufficiency of process, jurisdiction over the subject matter, jurisdiction

over the person, or venue, and specifically reserve the right to assert any and all defenses or

objections to which they may be entitled.

          21.    By removing this action, defendants do not admit any of the allegations in the




                                                  -4-
 Case 2:20-cv-01577-JDC-KK Document 1 Filed 11/02/20 Page 5 of 6 PageID #: 5




petition or that plaintiff is entitled to any monetary or equitable relief whatsoever.

                                          CONCLUSION

       Defendants, ELDORADO RESORTS, INC. n/k/a CAESARS ENTERTAINMENT, INC.

and ST. CHARLES GAMING COMPANY, L.L.C., pray that this action be removed from the

457th Judicial District Court, Montgomery County, Texas, to the United States District Court for

the Southern District of Texas, Houston Division.



Dated: November 2, 2020                        Respectfully submitted,

                                               KEAN MILLER LLP


                                               /s/ Megan L. Reinkemeyer
                                               Megan Reinkemeyer #24094209
                                               711 Louisiana Street, Ste 1800
                                               Houston, TX 77002
                                               Telephone: (713) 844-3000
                                               Fax: (713) 844-3030
                                               megan.reinkemeyer@keanmiller.com

                                               and

                                               Royce Lanning #24055819
                                               1400 Woodloch Forest Drive, Ste 400
                                               The Woodlands, TX 77380
                                               Telephone: (832) 494-1711
                                               Fax: (888) 781-0162
                                               royce.lanning@keanmiller.com

                                               ATTORNEYS FOR ELDORADO RESORTS,
                                               INC. n/k/a CAESARS ENTERTAINMENT,
                                               INC. and ST. CHARLES GAMING
                                               COMPANY, L.L.C.




                                                 -5-
 Case 2:20-cv-01577-JDC-KK Document 1 Filed 11/02/20 Page 6 of 6 PageID #: 6




                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that I electronically filed the foregoing with the Clerk of Court by

using the CM/ECF system and that a copy of same was sent to all counsel of record by operation

of this court’s electronic filing system and/or electronic mail.

        Houston, Texas, this the 2nd day of November, 2020.




                                                      /s/ Megan L. Reinkemeyer
                                                      Megan Reinkemeyer




                                                -6-
